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                                                      Exhibit 4
                      Designations of Deposition Testimony of Brian Birdwell (August 18, 2022)


             Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                             Objections
       25:25                  26:12
       27:22                   29:6
       30:15                   31:5
       38:5                   38:14
       39:6                   39:12
       41:12                  41:20
       42:13                  42:25
       46:12                   47:1
       65:12                  66:14
       67:10                  67:21
       71:2                    71:8
       77:21                  78:11




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